Case 2:21-cr-00062       Document 367-11         Filed 09/20/23      Page 1 of 2 PageID #: 3362




Lodema Clay
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18th July 2023


Honorable, Joseph R. Goodwin
P.O. Box 2456
Charleston, WV 25329 2546



Dear Sir,

With a heavy heart I am writing this letter on behalf of my son, Larry Clay Jr.
Larry has always been a great comfort to me and the family. He is the second
child and my first son.

Honorable, Judge Goodwin, I ask for your mercy and compassion in making
the decision concerning Larry's life. The decision you make will affect our lives
as well, especially mine and his eldest sister, Monica. I will be 80 years old on
my Birthday and I have serious health problems, as does Monica.

Larry is Monica’s legal guardian due to her health problems since 2008. She
has had to deal with a brain tumor and she had a stroke in 2015. He made
sure every doctor’s appointment was kept, in state and out of state. He made
sure that she took her medication and always went the extra mile to help her
with encouragement, love, and kindness.

He made sure that I had a home to call my own and always made any repairs
on the house and car. He was also responsible for me having a car. My
younger son, Terry, lived out of state and was in the Army. When Terry moved
back home Larry helped him with a job and gave him an apartment over the
work facility that he had owned. He has helped a lot of people along the way.

Your Honor, would you let Larry serve any time that you give him in home
confinement. He could live here at home. Also he has been offered an
apartment and the only neighbor is an elderly lady; there are no neighborhood
children. It would be easy for him to get a job if permitted. This would greatly
ease my burden in facing the future with mine and Monica’s health problems. I
have had a lot of trauma in the 2 years that Larry has been gone. I lost family
members through death and in 2022 both of my daughters', Monica and
Crystal, had cancer surgery 15 minutes apart in Charleston, Wv. Crystal’s
Case 2:21-cr-00062        Document 367-11         Filed 09/20/23      Page 2 of 2 PageID #: 3363



cancer was stage 4. She is still under treatment. Sir, we still have a lot to face
and that is why I said that my burdens would be lighter with Larry home. I try
not to fear and I've asked God to lengthen my days because of Monica. Terry
does all he can to help but he works long hours at the VA Hospital. He puts in
8, 12 and 16 hour shifts and he doesn't live that close that he can help when
needed where Monica is concerned. Financially, we have all tried to help Larry
during the time he has been locked up, house payments, taxes, commissary,
etc. If Larry was home we could possibly save a long time family home, as it is
now he’s very close to losing it.

As for me I know I could rest a lot easier knowing that Larry was there for
Monica and certainly he has always been a comfort to me. Please consider our
extenuating circumstances in making your decision. Your Honor, Please let it
be home confinement.

Sincerely,


Lodema Clay
Lodema Clay
